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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


 In re:                                                 Chapter 11
                                                        Case No. 23-10961 (BLS)
 Williams Industrial Services Group Inc., et al, et al. Jointly Administered
                                                         Hearing Date: August 17, 2023 at 10:00 a.m.
                                                         Objection Deadline: August 10, 2023 at 4:00 p.m.

           Debtors.                                      Re: Docket No. 33

  OBJECTION OF CIGNA TO DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I)
     APPROVING BIDDING PROCEDURES FOR THE SALE OF ASSETS, (II)
SCHEDULING HEARINGS AND OBJECTION DEADLINES WITH RESPECT TO THE
 DEBTORS’ AUTHORITY TO SELL, (III) SCHEDULING BID DEADLINES AND AN
AUCTION, (IV) APPROVING THE FORM AND MANNER OF NOTICE THEREOF, (V)
 APPROVING CONTRACT ASSUMPTION AND ASSIGNMENT PROCEDURES, AND
                    (VI) GRANTING RELATED RELIEF

          Cigna Health and Life Insurance Company (“Cigna”) hereby objects to the Sale Procedures

(defined below) proposed by the Motion for Entry of an Order (I) Approving Bidding Procedures

for the Sale of Assets, (II) Scheduling Hearings and Objection Deadlines With Respect to the

Debtors’ Authority to Sell, (III) Scheduling Bid Deadlines and an Auction, (IV) Approving the

Form and Manner of Notice Thereof, (V) Approving Contract Assumption and Assignment

Procedures, and (VI) Granting Related Relief [Docket No. 33] (“Sale Motion”), and in support

thereof, respectfully states as follows:

                                           BACKGROUND

          1.     Cigna and Debtors are parties to the following insurance policies (collectively,

“Employee Benefits Agreements”) pursuant to which Cigna provides group medical, dental,

vision, accident, critical illness and hospital indemnity benefits for Debtors’ employee benefits

plan:

                          Group Medical, Dental and Vision Policy, as amended
                          Group Accident Indemnity Policy, #AI110198
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                            Group Critical Illness Policy, #CI110194
                            Group Hospital Indemnity Policy, #HC110159.

           2.       Pursuant to the Sale Motion, Debtors seek this Court’s approval for the sale of

substantially all of their assets (“Sale”) to a to-be-determined purchaser (“Purchaser”). The

Debtors initially seek approval of procedures governing the Sale process (“Sale Procedures”).

           3.       The Sale Procedures include procedures that will govern the assumption and

assignment of certain of Debtors’ executory contracts to the Purchaser as part of the Sale. No list

of the executory contracts sought to be assumed and assigned pursuant to the Sale is included in

the Motion. Instead, the Debtors propose to provide various notices to the non-Debtor parties to

executory contracts (“Contract Counterparties”).

           4.       The Sale Motion proposes that, following the entry of an order approving the Sale

Procedures, the Debtors will file and serve a Notice of Potential Assumption and Assignment1

(“Cure Notice”) listing some or all of the Debtors’ executory contracts that may be assumed and

assigned as part of the Sale, and proposed cure amounts for each. Sale Motion, ¶ 30. The contracts

listed in the Cure Notice may or may not be assumed and assigned as part of the Sale. Sale Motion,

¶ 39; see also, proposed order approving the Sale Procedures [Docket No. 33-2] (“Proposed

Procedures Order”), ¶ 26 .

           5.       The Sale Motion further proposes that the Debtors may add or remove contracts

from previous notices, and alter proposed cure amounts, by filing Supplemental Cure Notices.

Sale Motion, ¶ 33. Importantly, the Debtors seek permission to serve such Supplemental Cure

Notices “at any time,” with no limitations. Id. (emphasis added); see also, Proposed Procedures

Order, ¶ 23(5).




1
    Capitalized terms not defined herein have the meaning ascribed to them in the Sale Motion.

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        6.      The proposed Sale Procedures do not require the Debtors to provide notice of the

contracts actually proposed to be assumed and assigned to the Purchaser (“Assigned Contracts”)

prior to the hearing for approval of the Sale (“Sale Hearing”), or even prior to the closing of the

Sale (“Closing”). See Sale Motion, Exhibit D, proposed Sale Order, ¶ V. Only those contracts

listed on “a schedule of assumed and assigned contracts attached to a definitive sale agreement

with the Successful Bidder” will be assumed and assigned.2 Proposed Procedures Order ¶ 26. No

notice of a “final” list of Assigned Contracts is to be filed. Thus, neither the Cure Notice nor any

other notice proposed by the Debtors will provide Contract Counterparties with definitive notice

of their inclusion in or exclusion from the list of Assigned Contracts.

        7.      At bottom, the Sale Motion seeks this Court’s approval of a process that will give

the Debtors carte blanche authority with which they can assume and assign any or all of their

contracts without meaningful notice to Contract Counterparties prior to the hearing where approval

of such assumption and assignment will be sought.

                                             OBJECTION

        8.      Cigna objects to the proposed Sale Procedures because, inter alia, they do not

provide for adequate and definitive notice of the proposed disposition of the Employee Benefits

Agreements in the context of the Sale.

        9.      Through the Sale Motion, the Debtors seek this Court’s approval of the potential

assumption and assignment of a subset of the Debtors’ executory contracts that will be undefined

as of the Sale Hearing. Further, the proposed Sale Procedures would permit the universe of

Assigned Contracts to remain fluid through Closing, and would provide for no meaningful notice

of disposition to Contract Counterparties. The process proposed by the Debtors will leave Cigna


2
 The Stalking Horse APA, filed as Exhibit A to the Sale Motion, contains no schedule of assumed and assigned
contracts.

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with no certainty as to the proposed disposition of the Employee Benefits Agreements in the

context of the Sale, even after the entry of the Sale Order that will authorize such disposition. This

is directly contrary to the letter and spirit of Rule 6006(f)(2) of the Federal Rules of Bankruptcy

Procedure.

        10.      Because the Employee Benefits Agreements provide employee benefits that should

not be disrupted without substantial notice, definitive notice of Debtors’ intention with regard to

the Employee Benefits Agreements must be provided prior to the Sale Hearing, and far in advance

of Closing. The proposed Sale Procedures should be altered to provide that written, irrevocable

(subject to Closing of the Sale) notice of proposed disposition of the Employee Benefits

Agreements in the context of the Sale must be provided to Cigna and its undersigned counsel at

least five (5) business days prior to the Sale Hearing.3

        WHEREFORE, Cigna respectfully requests that this Court enter an order that: (i) denies

the approval of the proposed Sale Procedures except as consistent with the foregoing; and (ii)

grants Cigna such additional relief as this Court deems just and equitable.


Dated: August 9, 2023                       CONNOLLY GALLAGHER LLP

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3
 To be clear, Cigna does not seek to compel the assumption and assignment of the Employee Benefits Agreements as
part of the Sale. Rather, it seeks adequate notice as to whether the Employee Benefits Agreements will or will not be
assumed and assigned as part of the Sale.

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